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                  FOR PUBLICATION

   UNITED STATES COURT OF APPEALS
        FOR THE NINTH CIRCUIT

 COMMUNITY LEGAL SERVICES              No. 25-2808
 IN EAST PALO ALTO; SOCIAL
                                         D.C. No.
 JUSTICE COLLABORATIVE;
                                      3:25-cv-02847-
 AMICA CENTER FOR
                                          AMO
 IMMIGRANT RIGHTS;
 ESTRELLA DEL PASO;
 FLORENCE IMMIGRANT AND
 REFUGEE RIGHTS PROJECT;                 ORDER
 GALVESTON-HOUSTON
 IMMIGRANT REPRESENTATION
 PROJECT; IMMIGRANT
 DEFENDERS LAW CENTER;
 NATIONAL IMMIGRANT
 JUSTICE CENTER; NORTHWEST
 IMMIGRANT RIGHTS PROJECT;
 ROCKY MOUNTAIN
 IMMIGRANT ADVOCACY
 NETWORK; VERMONT ASYLUM
 ASSISTANCE PROJECT,

       Plaintiffs - Appellees,

  v.

 UNITED STATES DEPARTMENT
 OF HEALTH AND HUMAN
 SERVICES; UNITED STATES
 DEPARTMENT OF THE
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 INTERIOR; OFFICE OF REFUGEE
 RESETTLEMENT,

          Defendants - Appellants.

         Appeal from the United States District Court
             for the Northern District of California
       Araceli Martinez-Olguin, District Judge, Presiding

                        Filed May 14, 2025

     Before: William A. Fletcher; Consuelo M. Callahan; and
                  Lucy H. Koh, Circuit Judges.

                      Order by Judge Koh;
                    Dissent by Judge Callahan


                           SUMMARY *


                    Immigration/Injunctions

     The panel denied the Government’s motion for a stay
 pending appeal of the district court’s order preliminarily
 enjoining the Government from terminating all funding for
 counsel to represent unaccompanied children in immigration
 proceedings.



 *
  This summary constitutes no part of the opinion of the court. It has
 been prepared by court staff for the convenience of the reader.
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     The panel concluded the Government had not shown a
 likelihood of success on the merits. Plaintiffs bring
 Administrative Procedure Act claims based on the
 Government’s      alleged     statutory   and     regulatory
 violations. The relevant statutes and regulations state that
 the Government “shall ensure” legal representation for
 unaccompanied children “to the greatest extent
 practicable.” Congress has appropriated funds for this
 statutorily mandated purpose for over a decade and as
 recently as 2025. The Government’s decision to terminate
 all funding in violation of the statutory mandate was not
 committed to agency discretion and is subject to judicially
 manageable review. “To the greatest extent practicable”
 does not mean “to no extent at all.” Moreover, plaintiffs
 have no contract with the Government. Thus, the Tucker
 Act, which governs contract claims against the government
 and requires that such claims be brought in the Court of
 Federal Claims, does not apply. Even the Government
 concedes that plaintiffs could not have brought their claims
 in the Court of Federal Claims.
     The panel also concluded that the Government had not
 shown it would suffer irreparable injury absent a
 stay. Unlawfully refusing to disperse congressionally
 appropriated funds for statutorily mandated purposes cannot
 constitute irreparable injury. Nor does the effect of the
 injunction on separation of powers constitute an irreparable
 injury that justifies a stay.
     Judge Callahan dissented for the reasons provided in the
 dissent from rehearing en banc that she joined in the prior
 appeal in this case. See Cmty. Legal Servs. in E. Palo Alto
 v. United States Dep’t of Health & Hum. Servs., No. 25-
 2358, --- F.4th ----, ----, 2025 WL 1203167, at *3-4 (9th Cir.
 Apr. 25, 2025) (Bumatay, J., and VanDyke, J., dissenting
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 from the denial of rehearing en banc). Judge Callahan wrote
 that, even if the district court had jurisdiction under the
 Administrative Procedure Act, the decision to terminate
 funding—or the decision of who to fund—is committed to
 agency discretion by law under 5 U.S.C. § 701(a)(2). She
 would therefore grant the Government’s stay motion.




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                           ORDER
 KOH, Circuit Judge:
     To protect unaccompanied children in immigration
 proceedings from the risks of “mistreatment, exploitation,
 and trafficking,” the Trafficking Victims Protection
 Reauthorization Act of 2008 (“TVPRA”), 8 U.S.C. § 1232,
 directs that the Department of Health and Human Services
 (“HHS”) “shall ensure, to the greatest extent practicable,”
 that unaccompanied children in immigration custody receive
 legal representation. Id. § 1232(c)(5). To carry out this
 obligation, the Office of Refugee Resettlement (“ORR”)
 promulgated the “Foundational Rule” which states that
 “ORR shall fund legal service providers to provide direct
 immigration legal representation for certain unaccompanied
 children, subject to ORR’s discretion and available
 appropriations.” 45 C.F.R. § 410.1309(a)(4). Since 2012,
 and as recently as March 15, 2025, Congress has consistently
 appropriated funds to ensure compliance with the TVPRA’s
 statutory mandate. See Full-Year Continuing Appropriations
 and Extensions Act, 2025, Pub. L. No. 119-4, Div. A Tit. I
 Sec. 1101(8), 139 Stat. 9, 11 (2025); Further Consolidated
 Appropriations Act, 2024, Pub. L. 118-47, Div. D Tit. I, 138
 Stat. 460, 664–665 (2024); Consolidated Appropriations
 Act, 2012, Pub. L. 112-74, Div. F, Tit. II, 125 Stat. 786, 1077
 (2011); S. Rep. 118-84, at 169. In this matter, the district
 court preliminarily enjoined Defendants HHS, ORR and the
 Department of the Interior (“DOI”) (collectively, the
 “Government”) from withdrawing government-provided
 funding for counsel to represent unaccompanied children in
 immigration proceedings. The Government appealed the
 issuance of the preliminary injunction and now moves to
 stay the injunction while this appeal is pending.
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     When deciding a motion for a stay pending appeal, the
 court considers “(1) whether the stay applicant has made a
 strong showing that he is likely to succeed on the merits;
 (2) whether the applicant will be irreparably injured absent a
 stay; (3) whether issuance of the stay will substantially
 injure the other parties interested in the proceeding; and
 (4) where the public interest lies.” Nken v. Holder, 556 U.S.
 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770,
 776 (1987)). “The first two factors . . . are the most critical,”
 and the court will address the last two factors only once the
 applicant has satisfied the first two factors. Id. at 434–35.
 “The party requesting a stay bears the burden of showing that
 the circumstances justify” issuance of the stay. Id. at 433–
 34.
     We conclude the Government has shown neither a
 likelihood of success on the merits nor irreparable injury
 absent a stay and accordingly deny the Government’s
 motion. 1
     I.
     The Government offers two reasons why it believes it is
 likely to succeed on the merits. First, the Government argues
 the Tucker Act, 28 U.S.C. § 1491, “impliedly forbids”
 plaintiffs’ Administrative Procedure Act (“APA”) claims
 and thus the district court lacked jurisdiction. Second, the
 Government argues that its decision to completely defund
 direct legal services for unaccompanied children constitutes
 an unreviewable exercise of agency discretion. As explained
 below, the Government has not made “a strong showing that


 1
  Because the Government failed to satisfy the first two stay factors, we
 need not reach the two remaining stay factors. See Nken, 556 U.S. at
 434–35.
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 [it] is likely to succeed on the merits” of either argument.
 Nken, 556 U.S. at 434 (quoting Hilton, 481 U.S. at 776).
     A.
     The APA “embodies [a] basic presumption of judicial
 review to one ‘suffering legal wrong because of agency
 action.’” Abbott Lab’ys v. Gardner, 387 U.S. 136, 140–41
 (1967) (quoting 5 U.S.C. § 702). The APA generally waives
 sovereign immunity and permits a challenge to agency
 action unless “any other statute that grants consent to suit
 expressly or impliedly forbids the relief which is sought.” 5
 U.S.C. § 702. 2 The Government argues that the Tucker Act
 “impliedly forbids” plaintiffs’ suit because plaintiffs’ claims
 sound in contract and accordingly can only be brought in the
 Court of Federal Claims (if at all). This argument is unlikely
 to succeed for two reasons.
     First, contrary to the Government’s argument, plaintiffs’
 APA claims are based on the Government’s statutory and
 regulatory violations, not any government contract. In fact,
 no contract exists between plaintiffs and the Government.
 Instead, the Government has entered into a nationwide
 agreement with an organization called Acacia, who in turn
 subcontracts with legal service providers such as plaintiffs.
     “[T]he Tucker Act . . . ‘impliedly forbid[s]’ an APA
 action seeking injunctive and declaratory relief only if that
 action is a ‘disguised’ breach-of-contract claim.” United
 Aeronautical Corp. v. U.S. Air Force, 80 F.4th 1017, 1026
 (9th Cir. 2023) (quoting Megapulse, Inc. v. Lewis, 672 F.2d

 2
   The APA also does not apply to suits that either (a) seek “money
 damages,” 5 U.S.C. § 702; or (b) where “other adequate remed[ies]” to
 review the agency action exist, id. § 704. On appeal, the Government
 does not argue that either of these limitations on APA review apply here.
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 959, 968 (D.C. Cir. 1982)). In making this determination, we
 “look[] to (1) ‘the source of the rights upon which the
 plaintiff bases its claims’ and (2) ‘the type of relief sought
 (or appropriate).’” Id. (quoting Doe v. Tenet, 329 F.3d 1135,
 1141 (9th Cir. 2003)).
     “If rights and remedies are statutorily or constitutionally
 based, then district courts have jurisdiction; if rights and
 remedies are contractually based then only the Court of
 Federal Claims does . . . .” Id. (emphasis in original); see
 also Ferreiro v. United States, 501 F.3d 1349, 1353 n.3 (Fed.
 Cir. 2007) (“An order compelling the government to follow
 its regulations is equitable in nature and is beyond the
 jurisdiction of the Court of Federal Claims.”).
     Here, plaintiffs seek to enforce compliance with statutes
 and regulations, not any government contract. The TVPRA
 provides that the Government “shall ensure, to the greatest
 extent practicable . . . that all unaccompanied alien
 children . . . have counsel to represent them in legal
 proceedings or matters and protect them from mistreatment,
 exploitation, and trafficking.” 8 U.S.C. § 1232(c)(5)
 (emphasis added). The Foundational Rule states that “ORR
 shall fund legal service providers to provide direct
 immigration legal representation for certain unaccompanied
 children, subject to ORR’s discretion and available
 appropriations.” 45 C.F.R. § 410.1309(a)(4) (emphasis
 added). Seeking to ensure compliance with statutory and
 regulatory commands is a matter beyond the scope of the
 Tucker Act’s exclusive jurisdiction.
    In evaluating the merits, the district court found plaintiffs
 were likely to succeed in showing a violation of both of these
 provisions. Congress has appropriated substantial funds
 specifically to carry out the TVPRA for over a decade and
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 as recently as 2025. See, e.g., Full-Year Continuing
 Appropriations and Extensions Act, 2025, Pub. L. No. 119-
 4, Div. A Tit. I Sec. 1101(8), 139 Stat. 9, 11 (2025); Further
 Consolidated Appropriations Act, 2024, Pub. L. 118-47,
 Div. D Tit. I, 138 Stat. 460, 664–665 (2024). The district
 court found that the Government elected to withhold all
 congressionally authorized funding for direct legal
 representation, even though such funding was necessary to
 ensure all unaccompanied children remained represented. It
 was “undisputed that appropriations for direct representation
 remain available,” and that the Government had “evidenced
 no effort to ensure pro bono counsel.” Indeed, the district
 court found the Government made its decision “with no
 supplemental plan to ensure unaccompanied children have
 legal counsel” at all, let alone “to the greatest extent
 practicable.” On appeal, the Government contests the district
 court’s jurisdiction but does not dispute any of the
 aforementioned findings. Plaintiffs accordingly are likely to
 establish the requisite violations of law to support their APA
 claims irrespective of any contractual violation.
     Second, as the Government concedes, subcontractors
 such as plaintiffs do not even have the right to sue under the
 Tucker Act. The Tucker Act provides the Court of Federal
 Claims with jurisdiction to hear claims based “upon any
 express or implied contract with the United States.” 28
 U.S.C. § 1491(a)(1). Consistent with the statute’s plain text,
 “[t]o maintain a cause of action pursuant to the Tucker Act
 that is based on a contract, the contract must be between the
 plaintiff and the government.” Cienega Gardens v. United
 States, 194 F.3d 1231, 1239 (Fed. Cir. 1998) (quoting
 Ransom v. United States, 900 F.2d 242, 244 (Fed. Cir.
 1990)). Subcontractors, who have not entered into contracts
 with the Government, generally have no right to sue under
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 the Tucker Act, and the Court of Federal Claims has no
 jurisdiction to hear their suit. See id.; Erickson Air Crane Co.
 of Wash., Inc. v. United States, 731 F.2d 810, 813 (Fed. Cir.
 1984).
     The Government concedes (and indeed affirmatively
 argues) that the Court of Federal Claims lacks jurisdiction to
 hear plaintiffs’ claims because “it is ‘a hornbook rule that,
 under ordinary government prime contracts, subcontractors
 do not have standing to sue the government under the Tucker
 Act.’” But the Government nonetheless argues the Tucker
 Act “impliedly forbids” plaintiffs’ APA claims because
 “subcontractors have fewer legal rights than prime
 contractors.” This argument lacks merit.
      The Tucker Act’s “exclusive jurisdiction” has been
 construed “to impliedly forbid contract claims against the
 Government from being brought in district court under the
 waiver in the APA.” Crowley Gov’t Servs., Inc. v. Gen.
 Servs. Admin., 38 F.4th 1099, 1106 (D.C. Cir. 2022)
 (cleaned up) (quoting Perry Cap. LLC v. Mnuchin, 864 F.3d
 591, 618–19 (D.C. Cir. 2017)). But “[t]here cannot be
 exclusive jurisdiction under the Tucker Act if there is no
 jurisdiction under the Tucker Act.” Tootle v. Sec’y of Navy,
 446 F.3d 167, 177 (D.C. Cir. 2006). For this reason, the D.C.
 Circuit has “categorically reject[ed] the suggestion that a
 federal district court can be deprived of jurisdiction by the
 Tucker Act when no jurisdiction lies in the Court of Federal
 Claims.” Id. at 176; see also Crowley, 38 F.4th at 1109
 (“Because a plaintiff could not bring this type of tort action
 in [the Court of Federal Claims] in the first place, that Court
 would not have exclusive jurisdiction of them.”).
     The result requested by the Government would mean that
 no court has jurisdiction to hear plaintiffs’ claims. Not only
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 is this result contrary to common sense, but it also conflicts
 with the “strong presumption favoring judicial review of
 administrative action” that is embodied in the APA. Mach
 Mining, LLC v. E.E.O.C., 575 U.S. 480, 486 (2015) (internal
 quotation marks omitted); see Abbott Lab’ys, 387 U.S. at
 140–41.
      The Supreme Court’s recent decision in Department of
 Education v. California, 145 S. Ct. 966 (2025), does not
 change this conclusion. Department of Education involved a
 claim to enforce grant agreements that the plaintiffs had
 entered into directly with the government and thus “to
 enforce a contractual obligation to pay money.” Id. at 968
 (citation omitted). The Supreme Court held that this claim
 fell within the Tucker Act’s grant of exclusive jurisdiction
 and accordingly suggested that the suit must be brought in
 the Court of Federal Claims. See id. (“But, as we have
 recognized, the APA’s limited waiver of immunity does not
 extend to orders to enforce a contractual obligation to pay
 money along the lines of what the District Court ordered
 here. Instead, the Tucker Act grants the Court of Federal
 Claims jurisdiction over suits based on any express or
 implied contract with the United States.” (internal citations
 and quotation marks omitted)). Department of Education has
 no application where, as here, the claims sound in statute,
 rather than contract.
     Accordingly, the Government has not shown a
 likelihood of success on its Tucker Act argument.
    B.
     The APA does not apply where “agency action is
 committed to agency discretion by law.” 5 U.S.C.
 § 701(a)(2). This exception has been construed “narrowly”
 to apply only in “those rare circumstances where the relevant
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 statute is drawn so that a court would have no meaningful
 standard against which to judge the agency’s exercise of
 discretion.” Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv.,
 586 U.S. 9, 23 (2018) (quoting Lincoln v. Vigil, 508 U.S.
 182, 191 (1993)). The Supreme Court has identified certain
 categories of agency decisions that have traditionally been
 regarded as committed to agency discretion and are,
 accordingly, “presumptively unreviewable.” Heckler v.
 Chaney, 470 U.S. 821, 832–33 (1985) (holding agency
 decision whether to initiate an enforcement action was
 presumptively unreviewable). Even where an action falls
 within the class of actions traditionally committed to agency
 discretion, “judicial review is available where there are
 ‘meaningful standards to cabin the agency’s otherwise
 plenary discretion.’” Physicians for Soc. Resp. v. Wheeler,
 956 F.3d 634, 643 (D.C. Cir. 2020) (quoting Drake v. FAA,
 291 F.3d 59, 71 (D.C. Cir. 2002)).
     The Government argues that the decision to cancel the
 program is committed to agency discretion by law. Its
 argument is based entirely upon the Supreme Court’s
 decision in Lincoln v. Vigil, 508 U.S. 182 (1993). In that
 case, the Indian Health Service (the “Service”) was provided
 with a single lump-sum appropriation that covered all of the
 agency’s activities. Id. at 185. The Service was authorized,
 but not required, to “‘expend such moneys as Congress may
 from time to time appropriate, for the benefit, care, and
 assistance of the Indians,’ for the ‘relief of distress and
 conservation of health,’” including on “Indian mental-health
 care.” Id. at 184 (quoting 25 U.S.C. § 13). The Service had
 historically exercised this discretion to establish the “Indian
 Children’s Program,” which provided a variety of medical
 services to Indian children, but subsequently decided to
 cancel that program. Id. at 184–85. Plaintiffs brought an
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 APA claim challenging the Service’s decision not to fund the
 program. Id.
     The Supreme Court held that the Service’s “allocation of
 funds from a lump-sum appropriation is [a type of]
 administrative decision traditionally regarded as committed
 to agency discretion” and was, accordingly, presumptively
 unreviewable. Id. at 192. The Court explained that
 “allocation of funds from a lump-sum appropriation requires
 ‘a complicated balancing of a number of factors which are
 peculiarly within [agency] expertise.’” Id. at 193 (quoting
 Heckler, 470 U.S. at 831). Because the relevant statutes did
 “not so much as mention the Program” that was cancelled,
 let alone require it, the Court found “[t]he decision to
 terminate the Program was committed to the Service’s
 discretion” by law. Id. at 193–94.
     The rule announced in Lincoln has no application where,
 as here, the agency fails to carry out a program that is
 required by statute. Lincoln made clear that “an agency is
 not free simply to disregard statutory responsibilities” and
 “Congress may always circumscribe agency discretion to
 allocate resources by putting restrictions in the operative
 statutes.” Id. at 193; see also Los Coyotes Band of Cahuilla
 & Cupeno Indians v. Jewell, 729 F.3d 1025, 1038 (9th Cir.
 2013) (noting that Lincoln applies only “absent some
 statutory constraint on the agency’s discretion”). Where
 Congress establishes a mandatory program, in the sense that
 “Congress directs (rather than merely authorizes) the agency
 to conduct” certain activities, the rule in Lincoln has no
 application. U.S. Gov’t Accountability Off., GAO-16-
 464SP, Principles of Federal Appropriations Law 2-37 &
 n.40 (4th Ed. 2016); U.S. Gov’t Accountability Off., GAO-
 17-797SP, Principles of Federal Appropriations Law 3-30
 (4th Ed. 2017 Rev.) (“When Congress appropriates money
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 to implement a program, and implementation of the program
 is mandatory, the agency may not use the appropriated
 amounts to terminate the program.”); see, e.g., Shawnee
 Tribe v. Mnuchin, 984 F.3d 94, 100 (D.C. Cir. 2021)
 (explaining that where “Congress has ‘circumscribe[d]
 agency discretion to allocate resources by putting
 restrictions in the operative statute[]’” there is “no
 presumption of non-reviewability” (quoting Lincoln, 508
 U.S. at 193)); Ramah Navajo Sch. Bd. v. Babbitt, 87 F.3d
 1338, 1347 (D.C. Cir. 1996) (distinguishing Lincoln where
 “Congress intended the [statute] to limit the Secretary’s
 discretion in funding matters”). Rather, in such
 circumstances the Executive has no authority to withhold the
 funds appropriated by Congress or otherwise refuse to
 comply with the law. See City & Cnty. of San Francisco v.
 Trump, 897 F.3d 1225, 1232 (9th Cir. 2018) (“Aside from
 the power of veto, the President is without authority to
 thwart congressional will by canceling appropriations
 passed by Congress.”); In re Aiken Cnty., 725 F.3d 255, 266
 (D.C. Cir. 2013) (Kavanaugh, J.) (“Prosecutorial discretion
 does not include the power to disregard other statutory
 obligations that apply to the Executive Branch, such as
 statutory requirements to issue rules, or to pay benefits, or to
 implement or administer statutory projects or programs.”
 (internal citation omitted)); see also Memorandum from
 William H. Rehnquist, Assistant Attorney General, Office of
 Legal Counsel, to Edward L. Morgan, Deputy Counsel to the
 President (Dec. 1, 1969) (“While there have been instances
 in the past in which the President has refused to spend funds
 appropriated by Congress for a particular purpose, we know
 of no such instance involving a statute which by its terms
 sought to require such expenditure.”).
      Here, the TVPRA provides that HHS “shall ensure, to
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 the greatest extent practicable . . . , that all unaccompanied
 alien children . . . have counsel to represent them in legal
 proceedings.” 8 U.S.C. § 1232(c)(5) (emphasis added); see
 also id. § 1232(c)(1) (HHS “shall establish policies and
 programs to ensure that unaccompanied alien children in the
 United States are protected from traffickers” (emphasis
 added)). This statute does not say that HHS “may” provide
 certain services, as was the case in Lincoln. Instead, the use
 of “shall” plainly imposes a mandatory duty on HHS to take
 steps to ensure “all” such children have counsel. See
 Alabama v. Bozeman, 533 U.S. 146, 153 (2001) (“The word
 ‘shall’ is ordinarily the language of command.” (internal
 quotation marks and citation omitted)). Similarly, the
 Foundational Rule states that “ORR shall fund legal service
 providers to provide direct immigration legal representation
 for certain unaccompanied children, subject to ORR’s
 discretion and available appropriations.” 45 C.F.R.
 § 410.1309(a)(4) (emphasis added). These affirmative
 obligations stand in stark contrast with those at issue in
 Lincoln, where “no statute or regulation even mention[ed]
 the Program” that was cancelled, let alone required that the
 Executive carry out the program. 508 U.S. at 190.
     To be sure, HHS is only required to provide counsel “to
 the greatest extent practicable” and the Foundational Rule
 similarly grants the agency some discretion in the
 procurement of counsel for unaccompanied children, but that
 in no way defeats judicial review. Whatever discretion the
 agency may have in evaluating what “the greatest extent
 practicable” may be, this phrase certainly is not the same as
 “to no extent at all.” See Calvert Cliffs’ Coordinating
 Comm., Inc. v. U. S. Atomic Energy Comm’n, 449 F.2d 1109,
 1114 (D.C. Cir. 1971) (explaining that the fact the agencies’
 statutory duties were “qualified by the phrase ‘to the fullest
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 extent possible’” did “not provide an escape hatch for
 footdragging agencies” and did “not make [the statute’s]
 requirements somehow ‘discretionary’”). APA Section
 701(a)(2) has “never been thought to put all exercises of
 discretion beyond judicial review.” ASSE Int’l, Inc. v. Kerry,
 803 F.3d 1059, 1071 (9th Cir. 2015). To the contrary, “the
 APA itself commits final agency action to [judicial] review
 for ‘abuse of discretion.’” Pinnacle Armor, Inc. v. United
 States, 648 F.3d 708, 720 (9th Cir. 2011) (quoting 5 U.S.C.
 § 706(a)(2)(A)). Review is prohibited only where “there is
 truly no law to apply.” Jajati v. U.S. Customs & Border
 Prot., 102 F.4th 1011, 1014 (9th Cir. 2024) (quoting Perez
 Perez v. Wolf, 943 F.3d 853, 861 (9th Cir. 2019)). And courts
 routinely find far less determinate language than that at issue
 here establishes a sufficient standard to permit review. See,
 e.g., Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S.
 402, 411 (1971) (determination whether “no feasible and
 prudent alternative” existed was reviewable); Pac. Nw.
 Generating Coop. v. Bonneville Power Admin., 596 F.3d
 1065, 1075 (9th Cir. 2010) (requirement that agency act
 “consistent with sound business principles” provided
 meaningful standard for review); City of Los Angeles v. U.S.
 Dep’t of Com., 307 F.3d 859, 869 n.6 (9th Cir. 2002)
 (requirement that an agency Secretary “shall” act “if he
 considers it feasible” provided a meaningful standard for
 review). Accordingly, the Government has not shown a
 likelihood of success on this argument either.
   II.
     An applicant for a stay pending appeal must show that a
 stay is necessary to avoid likely irreparable injury to the
 applicant while the appeal is pending. See Nken, 556 U.S. at
 434. “[S]imply showing some possibility of irreparable
 injury” is insufficient. Id. (internal quotation marks
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 omitted). Rather, “[t]he minimum threshold showing for a
 stay pending appeal requires that irreparable injury is likely
 to occur during the period before the appeal is likely to be
 decided.” Al Otro Lado v. Wolf, 952 F.3d 999, 1007 (9th Cir.
 2020) (citing Leiva-Perez v. Holder, 640 F.3d 962, 968 (9th
 Cir. 2011)).
     The Government has not met its irreparable injury
 burden. Despite waiting nearly a week to file this emergency
 motion to stay the preliminary injunction, the Government
 provides no evidence to support its claims of irreparable
 injury. Cf. Al Otro Lado, 952 F.3d at 1007 (rejecting “a weak
 showing” of harm where the government had the opportunity
 to gather evidence in support of its claims). Rather, the
 Government asserts evidence is unnecessary in this case
 because the injunction requires the disbursement of taxpayer
 funds that may never be recovered, and the injunction harms
 the separation of powers. We disagree.
     First, the Government has made no showing that
 dispersing congressionally appropriated funds for statutorily
 mandated purposes would cause irreparable harm in this
 case. Since 2012, and as recently as March 15, 2025,
 Congress has consistently appropriated funds to ensure
 compliance with the TVPRA’s statutory mandate. See, e.g.,
 Full-Year Continuing Appropriations and Extensions Act,
 2025, Pub. L. No. 119-4, Div. A Tit. I Sec. 1101(8), 139 Stat.
 9, 11 (2025); Further Consolidated Appropriations Act,
 2024, Pub. L. 118-47, Div. D Tit. I, 138 Stat. 460, 664–665
 (2024); Consolidated Appropriations Act, 2012, Pub. L.
 112-74, Div. F, Tit. II, 125 Stat. 786, 1077 (2011); S. Rep.
 118-84, at 169. These funds are statutorily earmarked to
 carryout the TVPRA. Pursuant to the TVPRA, HHS “shall
 ensure, to the greatest extent practicable . . . , that all
 unaccompanied alien children . . . have counsel to represent
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 them in legal proceedings or matters and protect them from
 mistreatment, exploitation, and trafficking.” 8 U.S.C.
 § 1232(c)(5). The President is required to spend these funds
 for the purpose of carrying out the TVPRA and only for that
 purpose. See 31 U.S.C. § 1301(a) (“Appropriations shall be
 applied only to the objects for which the appropriations were
 made except as otherwise provided by law.”); City & Cnty.
 of San Francisco, 897 F.3d at 1232 (“[T]he President does
 not have unilateral authority to refuse to spend the funds.”
 (quoting Aiken, 725 F.3d at 261 n.1)). The district court
 concluded that the Government is likely now shirking a
 statutory obligation that has been in place for over a decade.
 The Government “cannot suffer harm from an injunction that
 merely ends an unlawful practice.” Rodriguez v. Robbins,
 715 F.3d 1127, 1145 (9th Cir. 2013). The Government has
 failed to demonstrate that spending congressionally
 appropriated funds as directed by Congress causes
 irreparable injury.
      The Supreme Court’s decision in Department of
 Education is not to the contrary. In assessing the risks of
 injury to the government there, the Supreme Court relied
 upon a declaration from a government official asserting the
 difficulties inherent in recovering disbursed funds under the
 specific grant agreements in that case. See 145 S. Ct. at 969
 (citing App. To Application To Vacate Order 15a, 17a.). No
 such evidence has been presented here. To the contrary, the
 Government’s motion fails to cite any evidence at all. Absent
 any showing from the Government, we cannot conclude that
 irreparable injury “is the more probable or likely outcome”
 here. Al Otro Lado, 952 F.3d at 1007 (quoting Leiva-Perez,
 640 F.3d at 968).
     Second, we reject the notion that the injunction’s effect
 on the “separation of powers” qualifies as irreparable harm
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 at the stay stage. See Washington v. Trump, 847 F.3d 1151,
 1168 (9th Cir. 2017) (“To the extent that the Government
 claims that it has suffered an institutional injury by erosion
 of the separation of powers, that injury is not ‘irreparable.’
 It may yet pursue and vindicate its interests in the full course
 of this litigation.”); see also E. Bay Sanctuary Covenant v.
 Trump, 932 F.3d 742, 778 (9th Cir. 2018) (finding a
 separation of powers argument inadequate to demonstrate
 irreparable harm). In denying a motion to stay in another
 case, we concluded that the government had not established
 irreparable harm because “if we were to adopt the
 government’s assertion that the irreparable harm standard is
 satisfied by the fact of executive action alone, no act of the
 executive branch asserted to be inconsistent with a
 legislative enactment could be the subject of a preliminary
 injunction. That cannot be so.” Doe #1 v. Trump, 957 F.3d
 1050, 1059 (9th Cir. 2020). The Government does not
 acknowledge this line of precedent, much less attempt to
 distinguish it.
   III.
    For the reasons set forth above, we deny the
 Government’s request for a stay pending appeal.


 CALLAHAN, Circuit Judge, dissenting:

     For the reasons provided in the dissent from rehearing en
 banc that I joined in the prior appeal in this case, I
 respectfully dissent. See Cmty. Legal Servs. in E. Palo Alto
 v. United States Dep’t of Health & Hum. Servs., No. 25-
 2358, --- F.4th ----, ----, 2025 WL 1203167, at *3-4 (9th Cir.
 Apr. 25, 2025) (Bumatay, J., and VanDyke, J., dissenting
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 from the denial of rehearing en banc). Even if the district
 court had jurisdiction under the Administrative Procedure
 Act, the decision to terminate funding—or the decision of
 who to fund—is committed to agency discretion by law
 under 5 U.S.C. § 701(a)(2). See 8 U.S.C. § 1232(c)(5)
 (qualifying the provision of legal services “to the greatest
 extent practicable”).     I would therefore grant the
 government’s stay motion.
